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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND EXCHANGE                                  17-cv-4179-DLC
COMMISSION,
                                                               DECLARATION OF L. JAMES
                                      Plaintiff,                 LYMAN IN SUPPORT OF
                                                                 MOTION FOR SUMMARY
       - against -                                              JUDGMENT ON LIABILITY

ALPINE SECURITIES CORPORATION,                                            ECF CASE

                                      Defendant.


       I, L. James Lyman, do hereby declare under penalty of perjury, in accordance with

28 U.S.C. § 1746, that the following is true and correct, that I am over 18 years of age and I am

competent to testify to the matters stated herein:

       1.      I am an attorney in the Division of Enforcement in the Denver Regional Office of

the Securities and Exchange Commission (the “SEC”). As part of my job duties, I am

responsible for investigating securities laws violations.

       2.      My investigations generally include sending subpoenas, taking testimony, and

conducting other investigative activities, as well as drafting internal legal analyses and preparing

cases for litigation. I was assigned to investigate the above captioned matter.

       3.      I learned the following facts through the course of my investigation.

       4.      The SEC served an investigatory subpoena on Alpine Securities Corporation
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(“Alpine”) on June 18, 2015, requesting production of, among other things: “All documents and

communications relating to Suspicious Activity Reports (‘SARs’) filed by you during the time

period, including but not limited to all SARs [and] investigative or other supporting files.”

(“Subpoena”). Alpine produced roughly 987,000 documents in response to the Subpoena.

       5.      By emails of January 14, February 19, and March 8, 2016, I provided Alpine’s

counsel with specific lists of SARs for which production of supporting documents should be

prioritized. Alpine produced what was purported to be the requested supporting documents

between February and May 2016.

       6.      I am familiar with the spreadsheet disclosed by the Commission in this action on

September 29, 2017, referred to as “Table E.” Table E lists the SARs for which Alpine failed to

identify and/or produce supporting documents as of the date of the Complaint in this action, as

further described below.

       7.      To determine the documents on Table E, between May 2016 and November 2016,

I—and individuals working under my direction and supervision—undertook the following steps:

                   a. Each SAR produced by Alpine contained a “Filing Name” that included

                       the customer name, the date of the deposit, and the ticker symbol.

                   b. A search was electronically conducted of the documents produced by

                       Alpine using the same Filing Name. For many documents, this search

                       would find the supporting document file.

                   c. If this search did not find the supporting document file, I would search for

                       documents containing both the ticker symbol and the customer name or

                       account number. Each document that resulted from the search was then

                       reviewed to determine if it was the supporting document file for the




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            specific SAR.

         d. If a support document could not be found after conducting steps b and c,

            the document was marked electronically to indicate that the supporting file

            could not be found.

         e. On behalf of the SEC, I communicated with counsel for Alpine about,

            among other things, Alpine’s response to the Subpoena. On or around

            August 8, 2016 I sent Alpine a list of SARs for which no supporting

            document could be found, or for which the supporting documents

            appeared to be incomplete (for example, when only a cover page, or a

            cover email was produced, but not the entire file). Table E reflects a

            combined list of the SARs that I identified to Alpine’s counsel on August

            8, 2016.

         f. Alpine purportedly produced the requested supporting documents on or

            around October 25, 2016.

         g. Between October 25 and November 10, 2016, I began conducting the

            searches outlined in steps b and c within the documents produced on or

            around October 25, 2016, but was unable to locate supporting files for

            many of the documents.

         h. On November 10, 2016, I wrote to Alpine’s counsel explaining the basis

            for my belief that Alpine had failed to produce all of the requested

            supporting documents, describing the searches outlined in step g, listing

            certain SARs for which I was unable to find supporting documents, and

            asking Alpine to identify by Bates number where within its productions




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                       the support files could be located.

       8.      Counsel for Alpine responded to my November 10, 2016, email during a

telephone conversation on November 15, 2016. During this conversation, counsel for Alpine

explained that some missing support documents “simply don’t exist” and that Alpine was trying

to gather and organize others. Alpine’s counsel did not identify by Bates number where within

its production any of the support files could be located.

       9.      After March 30, 2018, I conducted an additional search of documents received by

the SEC from Alpine prior to the filing of the Complaint in this matter, including the documents

produced on October 25, 2016. The search consisted of the following steps:

                   a. For each SAR listed on Table E, I searched through all documents

                       produced by Alpine in the relevant time period to determine if there was a

                       SAR supporting document that could be identified using a “Filing Name”

                       search as set forth above.

                   b. My search identified approximately 496 SARs for which no SAR

                       supporting document could be found. A table reflecting these SARs is

                       attached as Exhibit 17.

                   c. Although the SARs listed on Table E were placed on the table because

                       there were indications that the support file was missing or incomplete—as

                       set forth above—for purposes of preparing a final list of documents for

                       which no support file was produced, my analysis gave Alpine credit for

                       those SARs for which at least some support document was produced, even

                       when the support document contained obvious omissions (for example,

                       when the support document consisted only of a spreadsheet, with no




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                        information relating to the customer, the issuer, or the like). This resulted

                        in the list of SARs on Exhibit 17 being shorter than the list on Table E.

       10.     I did not find evidence that Alpine produced supporting documents for the SARs

listed in Exhibit 17 to the Motion prior to the filing of the Complaint.

       11.     The SEC requested the supporting documents for SARs listed in Table E in 2016,

and, to the best of my knowledge, Alpine did not produce the supporting documents for SARs

listed in Exhibit 17 in 2016.

       12.     On October 18, 2016, I requested from Alpine’s counsel via email “Alpine’s trade

blotter for the May 2011 through December 2015 time period.” I further stated: “We can issue

an additional subpoena if necessary, but I am hoping you can give this request priority as it

should be routine to gather and produce.” Alpine’s counsel replied on October 20, 2016, stating:

“We are inquiring with our client regarding your request. I agree that we do not need to issue

another subpoena. I will get this moving along in short order.”

       13.     Alpine produced two trade blotters on or around November 18, 2016, Bates

numbered ALPINE_SUPP_PROD_SEC 00038251 and ALPINE_SUPP_PROD_SEC 00038252.

       14.     I am familiar with the spreadsheet disclosed by the Commission in this action on

September 29, 2017, referred to as “Table B.” The liquidations reflected on Table B were

determined by undertaking the following steps:

                   a.   First, I—and individuals working under my directions and supervision—

                        compiled a list of all SARs Alpine filed (amongst those produced to us)

                        that described the transaction only as a deposit (as opposed to liquidation

                        or other activity) of a security by a customer.

                   b. I then reviewed all of the remaining SARs produced to us by Alpine to




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                       determine if Alpine had filed a SAR relating to the same customer and

                       security that described any transaction other than a deposit.

                   c. Because Alpine produced SARs based on the customer name or security

                       name, if Alpine had filed a SAR on any activity involving that customer or

                       security, it should have been produced and the absence of such a SAR

                       therefore indicated that no such SAR was ever filed.

                   d. If Alpine had ever filed a SAR that described a transaction other than a

                       deposit by that customer of that security, I removed all SARs relating to

                       that customer and security from the list of deposit-only SARs for this

                       analysis. The remaining list reflected deposits for which Alpine had filed

                       a SAR only on the deposit, and not on any other related activity.

                   e. This list of deposit-only SARs was then compared to the trade blotters to

                       determine if the customer sold shares of the listed security after the date of

                       the deposit.

                   f. A list of the liquidations that were identified as occurring after the date of

                       the deposit was then compiled, and was reviewed to exclude any

                       liquidation that was less than $5,000 in value. The remaining list of

                       liquidations over $5,000 for which a SAR was filed on the deposit, but for

                       which no SAR was filed on the liquidation, is reflected on Table B.



I declare under the penalty of perjury that the foregoing is true and correct.

Dated: July 13, 2018

                                              /s/ L. James Lyman                 _
                                              L. James Lyman



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